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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

Yiwu Baimei Electronic Commerce Co., Ltd., ​       )​        ​
a Chinese Limited Corporation ​  ​       ​         )​        Case: 24-cv-12074​ ​        ​
​       ​      ​       ​     ​   ​       ​         )​        ​
​       ​      Plaintiff, ​  ​   ​       ​         )​          Judge: Lindsay C. Jenkins
​       ​      ​       ​     ​   ​       ​         )​        ​
​       ​      v. ​    ​     ​   ​       ​         )​        Mag. Judge: Jeannice W. Appenteng
​       ​      ​       ​     ​   ​       ​         )
The Partnerships And ​       ​   ​       ​         )​        ​
Unincorporated Associations ​​   ​       ​         )
Identified On Schedule “A” ​ ​   ​       ​         )
​       ​      ​       ​     ​   ​       ​         )
​       ​      Defendants. ​ ​   ​       ​         )
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                           NOTICE OF VOLUNTARY DISMISSAL
                         AS TO DEFENDANT (NO. 82) Rinhoo jewelry

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Yiwu Baimei

Electronic Commerce Co., Ltd. hereby dismisses this action without prejudice against the

following Defendant identified on the Amended Schedule A to the Complaint as to Defendant

(No. 82) Rinhoo jewelry.

       Respectfully Submitted this 11th of February, 2025,

​      ​      ​      ​       ​      ​      ​       ​         /s/Sandra Cristina Perez
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